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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


 DEBORAH CARR, BRENDA MOORE,
 MARY ELLEN WILSON, MARY SHAW
 and CAROL KATZ, on behalf of themselves
 and those similarly situated
                                                      Civil Action No. 3:22-cv-988 (MPS)
                       Plaintiffs,

                       v.

 XAVIER BECERRA, SECRETARY,                           August 26, 2022
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES

                       Defendant.




                       CLASS ACTION AMENDED COMPLAINT
                    FOR DECLARATORY AND INJUNCTIVE RELIEF

                                       INTRODUCTION

       1.      This case, brought as a nationwide class action, through this Class Action

Complaint amending the original Complaint in this matter filed August 3, 2022, concerns the

elimination of medically necessary health services for low-income individuals who rely upon the

Medicaid program during the ongoing COVID-19 pandemic. Many of these individuals face

imminent harm, such as institutionalization or untreated cancer, as a result of losing their

Medicaid-covered services. This population has been, and continues to be, most at risk of serious

illness and death during the COVID-19 pandemic.

       2.      Congress sought to mitigate that risk by enacting a “maintenance of effort”

provision that increases federal funding to state Medicaid programs and requires that they preserve

the Medicaid coverage of beneficiaries during the public health emergency (“PHE”). See 42
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U.S.C. § 1396d note (Temporary Increase of Medicaid reimbursements under Federal Medical

Assistance Percentage (“FMAP”) under Families First Coronavirus Response Act, Pub. L. No.

116-127, § 6008) (“Coronavirus Response Act” or “FFRCA”).

       3.       To receive the increased federal funding, states must agree to several conditions.

       4.       One condition requires states to “provide that an individual who is enrolled for

benefits” in a state's Medicaid program during the PHE “shall be treated as eligible for such

benefits [i.e., the benefits for which the person was enrolled] through the end of the month” in

which the PHE ends. See Coronavirus Response Act § 6008(b)(3) (emphasis added). This

condition must be met for a state to obtain enhanced federal matching for all of its Medicaid

expenditures.

       5.       There are only two exceptions in the statute to this continuous enrollment

requirement – cases where “the individual requests a voluntary termination of eligibility or the

individual ceases to be a resident of the State.” § 6008(b)(3). Neither exception is applicable to

any of the Named Plaintiffs or members of the proposed class.

       6.       Soon after the statute was enacted, Defendant's agency, the U.S. Department of

Health and Human Services (“HHS”), through its Center for Medicare & Medicaid Services

(“CMS”), posted notice to the public reiterating what the statute plainly meant in a Frequently

Asked Questions (“FAQ”) page: individuals enrolled for Medicaid benefits during the PHE must

continue to receive “such benefits,” i.e., the same amount, duration, and scope of services, until

the end of the month in which the PHE ends. See CMS, Families First Coronavirus Response Act

– Increased FMAP FAQs, 6 (Mar. 24, 2020).

       7.       Defendant repeated this explanation three more times in the ensuing months,

including noting, on May 5, 2020, that any “reduction in medical assistance would be inconsistent



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with the requirement at section 6008(b)(3) of the FFRCA that the state ensure that beneficiaries

be treated as eligible for the benefits in which they were enrolled as of or after March 18, 2020,

through the end of the month in which the emergency period ends.” CMS COVID-19 Frequently

Asked Questions (FAQs) for State Medicaid and Children's Health Insurance Program (“CHIP”)

Agencies 26 (May 5, 2020) (emphasis added).

       8.      Eight months after posting its first FAQ page on the Coronavirus Response Act,

Defendant did an about-face. Without either an intervening change in the Coronavirus Response

Act or the trajectory of the ongoing PHE, or providing the public an opportunity for notice and

comment, Defendant issued an Interim Final Rule (“IFR”) (later codified as 42 C.F.R. §433.400)

on November 6, 2020, which, among other things, created new exceptions not listed in the statute.

This included instructing states to move individuals enrolled in Medicaid en mass into other

“comparable” programs for which they would otherwise be eligible, even if the new eligibility

program covers significantly fewer services.

       9.      Specifically, the IFR newly authorized or required states to reduce or entirely

eliminate Medicaid coverage for individuals who: (1) are deemed to have “minimum essential

coverage” through eligibility for financial assistance to pay for some Medicare costs under the

very limited benefit Medicaid program known as the Medicare Savings Program (“MSP”); (2) are

deemed not “validly enrolled” at the time of the passage of the Coronavirus Response Act; or (3)

are non-citizens otherwise losing Medicaid coverage because of being in the United States less

than five years and no longer being pregnant or a child. 42 C.F.R § 433.400 (c)(2), (d)(2).

       10.     Following the issuance of the IFR in November 2020, officials within CMS advised

state Medicaid agencies through several “All State” on-the-record and transcribed telephone

meetings that the new rules not only authorized, but required, all states to reduce or eliminate full-



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scope Medicaid benefits and to reduce the benefits provided under the MSP to individuals it

previously recognized as protected against such cuts under the Coronavirus Response Act, if they

fall into one of the IFR's newly-created exceptions. States proceeded to comply, if reluctantly in

some cases.

       11.     Named Plaintiffs are Medicaid enrollees in Connecticut, Nebraska and Delaware

who live with various serious medical conditions, including Friedreich's Ataxia, severe circulatory

abnormalities, Multiple Sclerosis, recurrent squamous cell carcinoma, rheumatoid arthritis, COPD

and carotid artery disease. Each had been enrolled in Medicaid and was receiving Medicaid

coverage on or after March 18, 2020, i.e., the date the Coronavirus Response Act’s PHE-related

protections for all current and future Medicaid enrollees went into effect.

       12.     Named Plaintiffs have each been notified that, in effect, their full benefit or other

Medicaid coverage has terminated because: (1) they no longer meet the eligibility criteria for that

coverage, and (2) they qualify for a Medicare Savings Program (MSP) providing limited financial

assistance.

       13.     In issuing the IFR, Defendant maintained that an MSP is “comparable” to full

benefit Medicaid coverage under the IFR. But, contrary to the Coronavirus Response Act's plain

terms, which do not include any concept of “comparability,” transfer to an MSP will not provide

them with the same benefits they have been receiving. MSP also includes several variations of

financial assistance for costs under Medicare. For some individuals moved from one MSP to

another, the change results in loss of all coverage for the required cost-sharing (deductibles,

copayments and co-insurance) under Medicare, which is often substantial. As a result, health care

services can now be prohibitively expensive.




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       14.     Defendant’s revised, unsupported interpretation of the Coronavirus Response Act

harms Named Plaintiffs and members of the proposed class, including by denying them access to

needed medical or dental treatment and transportation to get to that treatment, and by imposing

concomitant physical and psychological harm that results from not being able to obtain such

medically necessary care and treatment. In some cases, Plaintiffs face irreparable harm in the form

of likely entry into a nursing facility, where COVID contagion and death rates have been very

high, or delayed access to diagnosis and treatment for cancer.

       15.     In the case of individuals losing their Qualified Medicare Beneficiary benefits and

being moved to another MSP program, they will lose their ability to receive health care services

funded under Medicare if they cannot afford the cost-sharing under that program, which also has

caused and will continue to cause irreparable harm.

       16.     The provisions of the IFR promulgating 42 C.F.R. § 433.400 violate the

Coronavirus Response Act’s unambiguous maintenance of effort requirement by permitting states

to receive the enhanced funding while actually providing significantly fewer “benefits” to

individuals enrolled in a state's Medicaid program.

       17.     The IFR was also issued without following the notice and comment procedures

under the Administrative Procedure Act (“APA”) and, in the case of the part promulgating 42

C.F.R. § 433.400, without the statutorily-required showing that eliminating the opportunity for

prior notice and comment was “impractical, unnecessary or contrary to the public interest,” 5

U.S.C. § 553(b)(B).

       18.     Named Plaintiffs seek class-wide injunctive and declaratory relief to vacate the

unlawful portions of the IFR and declare the states' obligations to continue to provide the same




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level of benefits to Medicaid enrollees for the duration of the PHE, absent satisfaction of one of

the two statutory exceptions in the Coronavirus Response Act.

                                JURISDICTION AND VENUE

        19.    This is an action for declaratory and injunctive relief for violation of the APA and

the Coronavirus Response Act.

        20.    The Court has jurisdiction over Plaintiffs' claims pursuant to 28 U.S.C. §§ 1331 and

1361 and 5 U.S.C. §§ 702 to 705. This action, and the remedies it seeks, are further authorized by

28 U.S.C. §§ 1651, 2201, and 2202, and Federal Rule of Civil Procedure 65.

        21.    Venue is proper under 28 U.S.C. § 1391(b)(2), (e).

                                           PARTIES

        22.    Plaintiff Deborah Carr is a 63-year-old Connecticut resident with disabilities who

was enrolled in Connecticut's full benefit Medicaid program, HUSKY D, on or after March 18,

2020.

        23.    Plaintiff Brenda Moore is a 57-year-old Connecticut resident with disabilities who

was enrolled in HUSKY D on March 18, 2020.

        24.    Plaintiff Mary Ellen Wilson is a 62-year-old Connecticut resident with disabilities

who was enrolled in HUSKY D on March 18, 2020.

        25.    Plaintiff Mary Shaw is a 65-year-old Nebraska resident who was enrolled in

Nebraska’s full-benefit Medicaid program after March 18, 2020.

        26.    Plaintiff Carol Katz is a 73-year-old Delaware resident who was enrolled in

Delaware Medicaid’s Qualified Medicare Beneficiary MSP on March 18, 2020 because her

countable income was below 100% of the federal poverty level.




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       27.     Defendant Xavier Becerra is the Secretary of HHS and is sued in his official

capacity. Defendant Becerra has overall responsibility for administering the Department’s

programs consistent with federal law, including the Coronavirus Response Act and the APA.

       28.     HHS is a federal agency with responsibility for overseeing implementation of

provisions of the Social Security Act, of which the Medicaid Act is a part.

                               CLASS ACTION ALLEGATIONS

       29.     Pursuant to Rules 23(a)(1)-(4) and (b)(2) of the Federal Rules of Civil Procedure,

Named Plaintiffs bring this action as a class action on behalf of all individuals who were enrolled

in Medicaid in any state or the District of Columbia on March 18, 2020 or later and had their

Medicaid eligibility terminated or reduced to a lower level of benefits on or after November 6,

2020, or will have their Medicaid eligibility terminated or reduced to a lower level of benefits prior

to a redetermination conducted after the end of the PHE, for a reason other than moving out of the

state or the District (including through death) or voluntarily disenrolling from benefits.

       30.     The size of the class is so numerous that joinder of all members is impracticable.

For example, in just one state, Connecticut, the number of people cut off of full-benefit Medicaid,

just for the reason of qualifying for Medicare and an MSP, was at least 6,600 at the initial

implementation of this exception under the IFR. This does not count individuals cut off for other

reasons authorized and required under the IFR codified in 42 C.F.R. § 433.400, nor does it count

individuals who are being terminated or having their benefits reduced each month because of

newly falling under one of these exceptions. Since all states participate in Medicaid, and

Connecticut has only about 1% of the population of the United States (3.57 million of about 329.5

million), Plaintiffs estimate a class of hundreds of thousands of individuals nationwide. Joinder is

also impracticable because the class is dynamic and because the absent class members lack the

knowledge, sophistication, and financial means to maintain individual actions.
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31.    There are questions of law common to the class, including, inter alia:

       a.      Whether Defendant violated the APA by promulgating the portion of the

IFR codified in 42 C.F.R. § 433.400 without providing advance notice and opportunity for

comment as required under 5 U.S.C. § 553.

       b.      Whether Defendant violated the APA by promulgating the portion of the

IFR codified in 42 C.F.R. § 433.400 and making it immediately effective rather than 30

days following publication as required under 5 U.S.C. § 553.

       c.      Whether Defendant had any authority or good cause for disregarding the

APA’s procedural rulemaking requirements in disregarding these advance notice and

comment requirements, pursuant to 5 U.S.C. § 553(b)(B).

       d.      Whether the portion of the IFR codified in 42 C.F.R. § 433.400 is

inconsistent with Section 6008 of the Coronavirus Response Act.

       e.      Whether by adopting exceptions to the continuous enrollment requirements

of the Coronavirus Response Act which are not authorized by the Act itself and where

Congress specified only two narrow exceptions, Defendant violated the APA in that the

IFR was “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law,” “in excess of statutory jurisdiction, authority, or limitations, or short of statutory

right”; or “without observance of procedure required by law.” 5 U.S.C. § 706(2)(A)-(D).

       f.      Whether Defendant violated the APA by reversing its contemporaneous

interpretation of the Coronavirus Response Act which it maintained for eight months,

without considering the reliance interests of parties based on the statute and its original

interpretation of same.




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               g.      Whether it was in the “best interests of Medicaid beneficiaries” to terminate

       or substantially reduce their Medicaid benefits during the pandemic and the declared PHE,

       as claimed by Defendant.

       32.     The Named Plaintiffs’ claims are typical of the claims of the class.

       33.     The representative parties will fairly and adequately protect the interests of the

class. Plaintiffs will vigorously represent the interests of the unnamed class members, and all

members of the proposed class will benefit by the efforts of the Named Plaintiffs. The interests of

the proposed class and those of the Named Plaintiffs in having the IFR set aside is the same.

       34.     Plaintiffs are represented by attorneys who are highly experienced in Medicaid

litigation, litigation under the APA and class action litigation, satisfying the requirements of Rule

23(g)(1).

       35.     The class is ascertainable and thus meets this additional requirement for class

certification in the Second Circuit.

       36.     Defendant and his predecessor has acted on grounds generally applicable to the

plaintiff class, thereby making appropriate injunctive and declaratory relief with respect to the

class as a whole under Rule 23(b)(2).

                     BACKGROUND AND FACTUAL ALLEGATIONS

       A.      The Medicaid Program

       37.     Title XIX of the Social Security Act establishes the medical assistance program

known as Medicaid. See id. §§ 1396-1396w-5. The purpose of the Medicaid program is to enable

each state, as far as practicable, “to furnish [] medical assistance” to individuals “whose income

and resources are insufficient to meet the costs of necessary medical services” and to provide

“rehabilitation and other services to help such families and individuals attain or retain capability

for independence or self-care.” Id. § 1396-1.

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        38.    The Medicaid program is federally implemented by HHS. Within HHS, CMS is

responsible for administration of the Medicaid program.

        39.    States do not have to participate in Medicaid, but all do.

        40.    Each participating state must maintain a comprehensive state Medicaid plan for

medical assistance that the Secretary has approved. Id. § 1396a. The state Medicaid plan must

describe the state's Medicaid program and affirm its commitment to comply with the requirements

imposed by the Medicaid Act and its implementing regulations.

        41.    States also are required under their state plans to administer their Medicaid

programs in the “best interests of the recipients,” as well as to do so “in a manner consistent with

simplicity of administration.” 42 U.S.C. § 1396a(a)(19).

        42.    States and the federal government share responsibility for funding Medicaid.

Section 1396b requires the Secretary to pay each participating state the federal share of “the total

amount expended . . . as medical assistance under the State plan.” Id. §§ 1396b(a)(1), 1396d(b).

The federal reimbursement rate is based on the state's relative per capita income and is known as

FMAP.

        43.    In return for federal funding, participating states must pay the remaining portion of

the costs of care and follow all federal requirements, including those regarding the scope of

coverage and eligibility for the program. Id. §§ 1396-1, 1396b.

        44.    Using household income and other specific criteria, the Medicaid Act delineates

who is eligible to receive Medicaid coverage. Id. §§ 1396a(a)(10)(A), (C).

        45.    The Act contains required coverage groups, as well as options for states to extend

Medicaid to additional population groups. Id. §§ 1396a(a)(10)(A), (C).




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        46.     The mandatory population groups include: low-income children; parents and

certain other caretaker relatives; pregnant women; the elderly, blind, or disabled; individuals under

age 26 who were in foster care until age 18; and adults who are under age 65, are not eligible for

Medicare, do not fall within another Medicaid eligibility category, and have countable household

incomes below 133% of the federal poverty level (“FPL”) (this last group is often referred to as

the “expansion population”). § 1396a(a)(10)(A)(i), (e)(14). The expansion population was initially

included as a mandatory eligibility group. The Supreme Court’s decision in National Federation

of Independent Business v. Sebelius, 567 U.S. 519, 588 (2012), however, barred HHS from

terminating Medicaid funding to states that choose not to extend Medicaid coverage to the

expansion population.

        47.     Generally, individuals must hold a qualified immigration status to be eligible for

Medicaid coverage. See 8 U.S.C. § 1641(b).              In addition, certain categories of qualified

immigrants, such as Legal Permanent Residents, must hold that qualified status for five years

before they are Medicaid eligible. Id. § 1613(a). Individuals without a qualified status, or who

have not held their qualified status for the required five years, are eligible only for services to treat

an emergency medical condition. See 42 U.S.C. § 1396b(v)(3).

        48.     All states and the District of Columbia also have the option to receive federal

matching funds to cover certain immigrants who do not have a qualified status or who have a

qualified status but have not held it for five years. Specifically, any state may provide Medicaid

coverage to “lawfully residing” immigrants if they are pregnant or are children under age 21. See

42 U.S.C. § 1396b(v)(4)(A). CMS has defined “lawfully residing” to mean individuals who are

“lawfully present” and meet the Medicaid state residency requirement. See CMS, Dear State

Health Official Letter, 10-006 (July 1, 2020), https://www.medicaid.gov/federal-policy-



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guidance/downloads/SHO10006.pdf. Coverage for pregnant people in this category extends

through the 60-day period beginning on the last day of the pregnancy and for children until they

turn 21.

       49.      Connecticut, Nebraska and Delaware have all chosen this option, although

Nebraska only covers such children until they turn 19.

       50.      On July 26, 2022, Connecticut joined several other states in receiving permission

from CMS to extend post-partum coverage under Medicaid generally to twelve months instead of

60 days. CMS, HHS Approves 12-Month Extension of Postpartum Coverage in Connecticut,

Massachusetts, and Kansas, Jul. 26, 2022, https://www.cms.gov/newsroom/press-releases/hhs-

approves-12-month-extension-postpartum-coverage-connecticut-massachusetts-and-kansas

       51.      States that participate in Medicaid must provide Medicaid beneficiaries with

“medical assistance.” The statute defines “medical assistance” to mean “payment of part or all of

the cost of the following care and services or the care and services themselves, or both.” 42 U.S.C.

§ 1396d. The “following care” includes a range of health care services that participating states

either must cover or are permitted to cover, from physical therapy and hearing aids to long-term

care at home and in nursing facilities. Id. § 1396d(a); 42 U.S.C. §§ 1396a(a)(10)(A).

       52.      Non-emergency transportation to medical appointments also is a required Medicaid

service, 42 U.S.C. § 1396u-7(a)(1)(F) (regarding so-called “benchmark” plans); 42 C.F.R. §

431.53.

       53.      There are many optional services, including prescription drugs, adult dental

benefits, optometry services, prosthetic devices, and at-home personal care services. See id. 42

U.S.C. §§ 1396(a)(10)(A), 1396(d)(a) (Medicaid Act listing 30 categories of medical assistance,

only nine of which are mandatory).



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        54.       States must specify the amount, duration, and scope of services in the state plan,

and services must also be “sufficient in amount, duration, and scope to reasonably achieve their

purpose.” 42 C.F.R. § 440.230.

        55.       In Connecticut, the full benefit Medicaid program includes optional coverage for

extensive services in the form of personal care attendants. Under the Community First Choice

program, individuals are eligible for Medicaid-funded personal care attendants when they are

found by the state to meet a nursing facility level of care such that, without these services, they

will be institutionalized.

        56.       In Nebraska, the full benefit Medicaid program includes coverage for dental

services, vision care services, and hearing aids, among many other kinds of services.

        57.       In Delaware, the full benefit Medicaid program includes optional coverage for

limited optometry services in managed care organizations, and, most recently, adult dental care,

among many other kinds of services.

        B.        The Medicare Program and the Medicare Savings Program

        58.       While Medicare and Medicaid are often confused, the Medicaid program, which is

generally only for low-income individuals and is jointly administered by the state and federal

governments, is very different from the Medicare program. Medicare is for individuals of any

income level who either are totally disabled and have significant work history or are over the age

of 65, and it is administered exclusively by the federal government.

        59.       Medicare coverage is made up of four parts:

              •   Part A – Referred to as Hospital Insurance in the statute (inpatient hospital care,
                  inpatient care in skilled nursing facilities, hospice care, some home health care)

              •   Part B – Referred to as Medical Insurance in the statute (physician services,
                  outpatient care, durable medical equipment, some home health services, many
                  preventive services and some in-office prescription drug coverage). See 42 U.S.C.
                  § 1395w-101-116.1
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             •   Part C –Medicare Advantage Plans, a set of private insurance plans which provide
                 Medicare coverage, usually with some minor supplemental benefits

             •   Part D- Medicare prescription drug coverage.

       60.       Medicare coverage does not include all of the benefits covered under Medicaid and

certainly not the broad range of services typically covered under state Medicaid programs,

including mandatory services like non-emergency medical transportation and optional services

like dental services. Home health care and nursing facility services have very limited coverage

under Medicare. There is no coverage at all under Medicare for the majority of home and

community-based services, such as in-home long term care services.

       61.       All of these services are covered under the Medicaid programs of Connecticut,

Nebraska and Delaware.

       62.       Medicare coverage requires recipients to shoulder significant out of pocket

expenditures.     Enrollees must pay monthly premiums, plus deductibles, co-payments, and

percentage of total charge co-insurance amounts (collectively, “cost-sharing”).

       63.       To address this burden, states must provide limited Medicaid to certain groups of

low-income Medicare-eligible beneficiaries to help them cover the Medicare Part B premiums and,

in some cases, cost-sharing. These groups are generally referred to as MSP eligibility groups but

may also be referred to by other names. The MSP benefit only provides financial assistance to

cover Medicare Part B premiums and the out-of-pocket costs of services covered under Medicare;

the MSP benefit does not provide coverage for any services not covered by Medicare.

       64.       There are three different MSP eligibility groups, based on income levels, for which

the federal government sets minimums, but allows the states to exceed those minimums.

                 a.     The first category includes people eligible for Medicare Part A, who meet

       certain income criteria, receive Medicaid coverage of their Medicare Parts A & B


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premiums, copays, deductibles, and coinsurance. See 42 U.S.C. § 1396d(p). These

individuals are referred to as “Qualified Medicare Beneficiaries” (“QMBs”). In

Connecticut, the income limit requirements for QMB coverage, currently $2390/month for

a single individual, are relatively high, allowing more people to access the program. In

Delaware the income limit for QMB coverage is set at 100% of the federal poverty

guidelines plus a $20 monthly disregard. 16 Del. Admin C. § 17300.3; 17300.3.2.6. In

2022, that amount is $1,153 per month. There is no asset/resource test for QMB benefits

in Connecticut or Delaware. In Nebraska, the income limit for a single individual (not

including any general disregard) is currently $1133 per month, see 477 Neb. Admin. Code

000-012. Nebraska does have a resource limit of $7,970 for a single person for its QMB

program. Id.

       b.      Individuals in the next income eligibility group are referred to as Specified

Low Income Medicare Beneficiaries (“SLMBs”). See 42 U.S.C. § 1396a(a)(10)(E)(iii).

This program only includes payment of Part B premiums, and provides no coverage for

cost-sharing. In Connecticut, the income limit for this program is somewhat higher,

currently $2617/month for a single individual. In Delaware, the income limit for SLMB

coverage is set at $120% of the federal poverty guidelines plus a $20 monthly disregard.

16 Del Admin. C. § 17400.1. In 2022, that amount is $1,380 per month. There is no

resource test for SLMB coverage in Delaware. In Nebraska, the income limit for SLMB

for a single individual (not including any general disregard) is currently $1360 per month,

with a resource limit of $7,970 for a single person, see 477 Neb. Admin. Code 000-012.

       c.      Individuals in the next income eligibility group are commonly referred to

as Additional Low Income Medicare Beneficiaries (“ALMBs”) but ay also be referred to



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        by other names. This program also only provides payment of Medicare Part B premiums.

        In Connecticut, the income limit for this program is set at an even higher level, currently

        $2786/month for a single individual. In Delaware, the income limit for ALMB coverage

        is set at $135% of the federal poverty guidelines plus a $20 monthly disregard. 16 Del

        Admin. C. §§ 17500, 17510. In 2022, that amount is $1,550 per month. There is no

        resource test for ALMB coverage in Delaware. In Nebraska, the income limit for ALBM

        for a single individual (not including any general disregard) is currently $1530 per month,

        with a resource limit of $7,970 for a single person, see 477 Neb. Admin. Code 000-012.

        65.    Some individuals may be eligible for Medicare, an MSP-eligibility group, and full-

scope Medicaid benefits.

        66.    Other individuals, however, are eligible only for Medicare and an MSP. These

individuals do not receive full-scope Medicaid benefits. As a result, individuals who move from

full-scope Medicaid to an MSP-eligibility group lose access to the benefits that are only covered

by Medicaid: they only receive financial assistance to pay for their Medicare premiums, and only

for those who qualify as QMBs, cost-sharing for Medicare-covered services. Individuals who are

moved from QMB to one of the other MSP programs lose coverage for Medicare cost-sharing.

        C.     The COVID-19 Pandemic and the Families First Coronavirus Response Act

        67.    On March 13, 2020, former President Donald Trump declared a national emergency

due to the rapid spread of the COVID-19 virus. 85 Fed. Reg. 15337, Pres. Proclamation, Mar. 13,

2020.

        68.    On January 31, 2020, former Secretary of HHS Alex Azar declared a PHE

retroactive to January 27, 2020.

        69.    The PHE, extensions of which are approved in 90-day increments, see 42 U.S.C. §

247d(a)(2), has been repeatedly extended, most recently on July 15, 2022, assuring continuation
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of the PHE until at least October 13, 2022. Secretary Becerra, like his predecessor, also has assured

states that there will be at least 60 days’ advance notice of the termination of the declared

emergency “Renewal of Determination that a Public Emergency Exists,” July 15, 2022, available

at https://aspr.hhs.gov/legal/PHE/Pages/covid19-15jul2022.aspx; see also Ltr. from Norris

Cochran, Acting HHS Sec'y of Dep't., to State Governors, 1 (Jan. 22, 2021) available at

https://ccf.georgetown.edu/wp-content/uploads/2021/01/Public-Health-Emergency-Message-to-

Governors.pdf.

       70.     Because the Secretary made no announcement on August 15, 2022 that the PHE

would be ending, this means that, to comply with his promise of 60 days’ advance notice, the PHE

will need to be extended, and this means it will continue until at least the middle of January, see

David Lim, HHS says it plans to extend Covid-19 public health emergency, Politico, Aug. 17,

2022, available at https://www.politico.com/news/2022/08/17/hhs-covid-health-emergency-

00052509

       71.     While the end-date is not at all certain, neither is it in sight. The pandemic remains

a global health emergency, the W.H.O. says, New York Times, July 12, 2022,

https://www.nytimes.com/2022/07/12/world/who-covid-health-emergency.html?smid=url-share.

       72.     As of the time of this complaint, about 450 persons per day are still dying from

COVID, and about 40,000 people are hospitalized. Coronavirus in the U.S.: Latest Map and Case

Count, New York Times, available at https://www.nytimes.com/interactive/2021/us/covid-

cases.html?smid=nytcore-ios-share&referringSource=articleShare (last visited August 25, 2022).

And, according to the CDC, there are about 100,000 documented new infections every day, see

CDC,       COVID       Data     Tracker,     available      at    https://covid.cdc.gov/covid-data-

tracker/#trends_dailycases_select_00 (last visited Aug. 25, 2022).



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         73.      Older individuals and those with weakened immune systems, including the Named

Plaintiffs, remain particularly vulnerable, and the Center for Disease Control and Prevention

(“CDC”) warns that the latest variants pose a continuing risk that may accelerate this fall. CDC,

COVID           19,        People    with       Certain     Medical      Conditions,   available    at

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (last visited July 14, 2022).

         74.      Similarly, people of color have experienced COVID-19 at disproportionate rates

and have died at rates that greatly exceed their representation in the population. For example, Black

people are 2.3 times more likely to get COVID-19 than White people, and 1.7 times more likely

to die from it. CDC, Risk for COVID-19 Infection, Hospitalization, and Death By Race/Ethnicity,

available             at        https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-

discovery/hospitalization-death-by-race-ethnicity.html (last visited July 14, 2022)

         75.      In addition, people of color are disproportionately on Medicaid, largely due to

disparate income levels compared with White Americans. In Connecticut, for example, 18.2 % of

the Medicaid population identifies as Black or African-American, Workbook: People Served

(ct.gov), while only 12.7% of the state population overall is Black, U.S. Census Bureau, Quick

Facts Connecticut, available at https://www.census.gov/quickfacts/CT (last visited Aug. 25,

2022).         In Delaware, 32.9% of the non-elderly Medicaid population is Black, see KFF,

Distribution          of      the     Nonelderly          with      Medicaid     by    Race/Ethnicity,

https://www.kff.org/medicaid/state-indicator/medicaid-distribution-nonelderly-by-

raceethnicity/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Location%22,%22sort

%22:%22asc%22%7D (last visited Aug. 25, 2022), while only 23.6% of the overall population is

Black.         U.S.        Census     Bureau,       Quick        Facts   Delaware,     available    at



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https://www.census.gov/quickfacts/DE (last visited Aug. 25, 2022). In Nebraska, 10.7% of the

non-elderly Medicaid population in Black. See Distribution of the Nonelderly with Medicaid by

Race/Ethnicity     |   KFF    ,   while    5.3%    of   the   total   population   in   Black.    See

https://www.census.gov/quickfacts/fact/table/NE/RHI225221 .

       76.       On March 18, 2020, the Coronavirus Response Act was signed into law.

Recognizing that states would face financial pressure as a result of the pandemic, the Coronavirus

Response Act includes significant financial relief for state Medicaid programs by enhancing each

state's FMAP by 6.2 percent for nearly all Medicaid expenditures. Coronavirus Response Act

§6008(a).

       77.       It is estimated that states will have received approximately $100.4 billion in fiscal

relief due to the enhanced FMAP as of May 2022, which is more than double the total estimated

state costs due to the additional MOE enrollees ($47.2 billion) from FY 2020 – FY 2022. Elizabeth

Williams, Fiscal and Enrollment Implications of Medicaid Continuous Coverage Requirement

During and After the PHE Ends, KFF, May 10, 2022, https://www.kff.org/medicaid/issue-

brief/fiscal-and-enrollment-implications-of-medicaid-continuous-coverage-requirement-during-

and-after-the-phe-ends/.

       78.       This has, for example, resulted in several hundred million dollars in additional

federal Medicaid reimbursements just to Connecticut since the passage of the Coronavirus

Response Act.

       79.       To be eligible for the enhanced FMAP, states must meet several conditions. These

conditions, referred to as the “maintenance of effort” requirements, establish protections for

Medicaid enrollees during the public health emergency. As relevant here, States must “provide

that an individual who is enrolled for benefits under such plan (or waiver) as of” March 18, 2020,



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“or enrolls for benefits under such plan (or waiver) during” the PHE, “shall be treated as eligible

for such benefits through the end of the month” in which the public health emergency ends. Id. §

6008(b)(3) (emphasis added).

       80.     There are only two specific statutory exemptions to the maintenance of effort

provision requiring continued coverage of the same services: when “the individual requests a

voluntary termination of eligibility or the individual ceases to be a resident of the State.” Id. §

6008(b)(3).

       81.     The Coronavirus Response Act is designed to balance the need for states to receive

enhanced federal funding with the need to protect beneficiaries against state efforts to terminate or

reduce Medicaid benefits during the PHE. The statute allows terminations or reductions only in

those two narrow circumstances where Congress found continuation of benefits to be

unreasonable. The Coronavirus Response Act gives Defendant no authority to create additional

exceptions to these protections, much less to do so under rules adopted without prior notice and

comment.

       D.      CMS's Spring 2020 Guidance

       82.     Contemporaneous with the enactment of the Coronavirus Response Act, CMS

published several sub-regulatory documents containing FAQs to advise states of the requirements

necessary to receive the enhanced funding offered under § 6008 of the Coronavirus Response Act.

       83.     On March 24, 2020, CMS explained that, pursuant to § 6008(b)(3):

       while states may increase the level of assistance provided to a beneficiary who
       experiences a change in circumstances, such as moving the individual to another
       eligibility group which provides additional benefits, states may not reduce benefits
       for any beneficiary enrolled in Medicaid on or after March 18, 2020, through the
       end of the month in which the emergency period ends, and still qualify for increased
       FMAP.

       CMS Families First Coronavirus Response Act – Increased FMAP FAQs, 6 (Mar.
       24, 2020).

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       84.       On April 13, 2020, CMS again stated that states “may not reduce benefits for any

beneficiary enrolled in Medicaid” during the public health emergency, including by moving them

to a new eligibility group that provides fewer benefits. CMS, “Families First Coronavirus

Response      Act       –     Increased      FMAP         FAQs,”         6    (Apr.      13,        2020),

https://sss.usf.edu/covid19/resources/medicaid/Family%20First%20Coronavirus%20Response%

20Act%20_%20Increased%20FMAP%20FAQs.pdf.

       85.       In that same April 13, 2020 statement, CMS repeatedly emphasized that, to satisfy

§ 6008(b)(3), states must continue providing individuals with the same amount, duration, and

scope of services throughout the public health emergency, regardless of changes in individual

circumstances:

       To be eligible for the enhanced FMAP authorized by the FFRCA, states may not
       reduce benefits for any beneficiary enrolled in Medicaid on or after March 18, 2020,
       through the end of the month in which the emergency period ends, and still qualify
       for increased FMAP. This means that states must continue to provide coverage to
       such beneficiaries in the eligibility group in which the beneficiary is enrolled if
       transitioning the beneficiary to another eligibility group would result in a reduction
       in benefits. If there is a separate eligibility group for which the individual is eligible
       and which provides the same amount, duration and scope of benefits, then a state
       may shift the individual to that group; what is critical for ensuring eligibility for
       the temporary FMAP increase is that the same amount, duration and scope of
       medical assistance be maintained.

CMS, “Families First Coronavirus Response Act (FFCRA), Public Law No. 116-127 Coronavirus

Aid, Relief, and Economic Security (CARES) Act, Public Law No. 116-136 Frequently Asked

Questions         (FAQs),”       9        (Apr.        13,       2020)        (emphasis         added);

https://sss.usf.edu/covid19/resources/medicaid/Family%20First%20Coronavirus%20Response%

20Act%20_%20Increased%20FMAP%20FAQs.pdf; see also, id. (explaining that a state may not

move an individual from one eligibility group to another, “unless the individual is eligible for a

separate eligibility group which provides the same amount, duration and scope of benefits.”); id.

(“If . . . the individual is ineligible for another eligibility group which confers the same amount,
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duration and scope of benefits, the state must continue to furnish services available to beneficiaries

enrolled in the adult group until the last day of the month in which the emergency period ends.”);

id. at 11 (“If . . . there is no other eligibility group for which the individual is eligible under the

state plan or waiver that provides the same amount, duration and scope of benefits as those

available to beneficiaries in the group under which the individual has been receiving coverage . . .

then the state must continue to furnish the benefits available under such group in order to qualify

for the temporary FMAP increase.”); id. at 11 (“A state must maintain, during the emergency

period, an individual's eligibility for at least the same amount, duration, and scope of benefits as

are covered for the group in which the individual is enrolled.”).

       86.     On May 5, 2020, CMS confirmed for the third time that § 6008(b)(3) of the

Coronavirus Response Act prohibits any reduction in the services or medical assistance provided

to an individual:

       Are states prohibited from increasing cost-sharing during the emergency
       period as a condition of receiving the FFRCA [Coronavirus Response Act]
       enhanced FMAP?

       Yes. A state is not eligible for the temporary FMAP increase authorized by section
       6008 of the FFRCA if it reduces the medical assistance for which a beneficiary is
       eligible and if that beneficiary was enrolled as of March 18, 2020, or becomes
       enrolled after that date but not later than the last day of the month in which the
       emergency period ends. Such a reduction in medical assistance would be
       inconsistent with the requirement at section 6008(b)(3) of the FFRCA that the state
       ensure that beneficiaries be treated as eligible for the benefits in which they were
       enrolled as of or after March 18, 2020, through the end of the month in which the
       emergency period ends. Because an increase in cost-sharing reduces the amount of
       medical assistance for which an individual is eligible, a state is not eligible for the
       enhanced FMAP if it increases cost sharing for individuals enrolled as of or after
       March 18, 2020.

CMS, COVID-19 Frequently Asked Questions (FAQs) for State Medicaid and Children's Health

Insurance Program (CHIP) Agencies 26 (May 5, 2020) (emphasis added). For good measure,

CMS issued a fourth statement to the same effect in late June 2020. CMS, "COVID-19 Frequently


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Asked Questions (FAQs) for State Medicaid and Children's Health Insurance Program (CHIP)

Agencies," 29-30 (June 30, 2020) (repeating guidance from May 5, 2020).

       87.     Connecticut's Medicaid agency responded to these clear and consistent

pronouncements under the Coronavirus Response Act by assuring policymakers that no one on

Medicaid would have their Medicaid benefits reduced during the PHE: it assured the members of

the Medical Assistance Program Oversight Council that, "[f]or the duration of the PHE, DSS is

not taking action on changes (e.g. change in family income, aging out of coverage) that would

result in a change of eligibility group or termination of coverage." July 10, 2020 PowerPoint

presentation, slide 10, available at 2906a2 (ct.gov).

       88.     Similarly, in Delaware, the Medicaid agency, on March 27, 2020, issued a written

policy prohibiting Medicaid terminations consistent with the Coronavirus Response Act, under

which it said “states may not terminate individuals from Medicaid who were enrolled in Medicaid

on or after March 18, 2020, regardless of any changes in circumstances or redeterminations at

scheduled renewals that otherwise would result in termination,” except “for individuals who

request a voluntary termination of eligibility, are deceased, or are no longer considered to be

residents of the state.” Delaware Health and Social Services, Administrative Notice DMMA- A-

06-2020, Mar. 27, 2020, available at https://dhss.delaware.gov/dhss/dmma/files/an_202006.pdf

       E.      Defendant’s Interim Final Rule

       89.     In early November 2020, CMS reversed course and issued an IFR that included

provisions significantly weakening the beneficiary protections Congress enacted in § 6008(b)(3)

of the Coronavirus Response Act. See Additional Policy and Regulatory Revisions in Response to

the COVID-19 Public Health Emergency, 85 Fed. Reg. 71142, 71160 (Nov. 6, 2020).

       90.     The IFR newly authorized or required states to reduce or entirely eliminate

Medicaid coverage for individuals who: (1) are eligible for financial assistance to pay for at least
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some out-of-pocket Medicare costs under an MSP; (2) are deemed not “validly enrolled” at the

time of the passage of the Coronavirus Response Act; or (3) are non-citizens otherwise losing

Medicaid coverage because of being in the United States less than five years and no longer being

pregnant or a child, 42 C.F.R § 433.400 (c)(2), (d)(2).

       91.     The IFR was issued with no intervening change in CMS's public position or in the

statutory language, nor any improvement in the COVID-19 pandemic itself. Rather, CMS claimed

that its revised statutory interpretation was prompted by the concerns of unidentified states (it does

not say which states or how many) that its “existing interpretation of Section 6008(b)(3) of the

Coronavirus Response Act makes it challenging for them to manage their programs effectively

and still qualify for the increased Federal financial participation.” Id. at 71161.

       92.     The IFR was issued without the notice and comment procedures ordinarily required

by the APA. CMS did ask for post-implementation comments on the IFR, 85 Fed. Reg. at 71142.

But while the overwhelming majority of the more than 260 comments received opposed the IFR,

the rule has remained in effect on an “interim” basis for the past twenty-one months.

       93.     As relevant here, the IFR adds a new subpart G, Temporary FMAP Increase During

the Public Health Emergency for COVID–19, to 42 C.F.R. part 433, including a new § 433.400.

       94.     The new provisions in 42 C.F.R. § 433.400 became “effective immediately upon

display of this rule.” 85 Fed. Reg. 71144.

       95.     Defendant's terse explanation for proceeding without notice and comment was that

an interim final rule was “immediately necessary to ensure that states can determine eligibility and

provide care and services during the [public health emergency] in a manner that is consistent with

simplicity of administration and the best interests of beneficiaries and also claim the temporary

funding increase.” 85 Fed. Reg. 71181. It did not explain what harm, if any, had befallen states in



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the months they had operated without the IFR, while elsewhere in the preamble it suggested the

absence of such harm: “CMS is not aware of any states or territories not currently claiming this

temporary FMAP increase, or of any state or territory that intends to cease claiming it.” 85 Fed.

Reg. 71148. And the explanation that this was in the “best interests of the beneficiaries” made no

sense because, in fact, it is completely against the best interests of Medicaid beneficiaries to cut

them off at all, let alone to do so under an immediately-effective IFR. The Agency’s explanation

does not rise to the good cause required to bypass the statutorily-required prior notice and comment

rule-making process.

       96.     No final rule has been issued by the Defendant. His agency has not subsequently

explained why it has yet to address any of the comments it invited or to issue a final rule.

       97.     After four previous times reiterating and reaffirming a contrary interpretation

during the same calendar year, CMS’s IFR announced, for the first time, that Section 6008(b)(3)

of the Coronavirus Response Act is “somewhat ambiguous” and that a new interpretation of the

statute was needed to respond to unnamed states requesting unspecified “increased flexibility.”

See 85 Fed. Reg. at 71160. Defendant provided no basis for his contention that cutting people off

of necessary health benefits for which they have no other coverage, particularly during an ongoing

public health emergency which may require prompt treatment for any infected individual, is

“consistent with simplicity of administration,” let alone in the “best interests of beneficiaries,” as

required under federal Medicaid law, 42 U.S.C § 1396a(a)(19).

       98.     The IFR permits states to continue receiving the enhanced FMAP, while

authorizing, and in some cases requiring, them to reduce or eliminate coverage for Medicaid

enrollees.




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         99.     CMS subsequently told the states that under the IFR they must conduct these

terminations. CMS COVID-19 Medicaid & CHIP All State Call, 11-17-20, at pages 12-17,

available         at       https://www.medicaid.gov/state-resource-center/downloads/allstatecall-

20201117.pdf.

         100.    CMS officials made clear that the terminations under the IFR were, in fact,

mandatory, in response to a question from a Connecticut Medicaid official (“Krist[i]n [Dowty]”).

CMS COVID-19 Medicaid & CHIP All State Call, 12-1-20, at pages 29-30, available at

https://www.medicaid.gov/resources-for-states/coronavirus-disease-2019-covid-19/cmcs-

medicaid-and-chip-all-state-calls/cmcs-medicaid-and-chip-all-state-calls-2020/index.html.        This

was followed by email correspondence between this same Connecticut official and CMS in March

2021, in which CMS stated, on March 27, 2021: “Consistent with CMS regulation at 42 C.F.R. §

433.400(c)(2), Connecticut must transfer the individual described in this scenario from the adult

group to the MSP-related group under which the individual is eligible. It is not optional for states.”

Email correspondence between Kristin Dowty and Marie DiMartino, CMS (March 11 and 27,

2021).

         101.    The IFR not only permits but, per the later CMS pronouncements, requires states

to make “changes to beneficiary coverage, . . . including both changes affecting an individual

beneficiary and approved changes to the state plan,” or waiver “impacting multiple beneficiaries,”

without impacting “a state’s ability to claim the temporary FMAP increase.” 42 C.F.R. §

433.400(c)(3).

         102.    According to the IFR preamble, this change permits states to “eliminate[e] an

optional benefit from its state plan,” such as dental benefits, and still claim the enhanced FMAP.

85 Fed. Reg. 71166.



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       103.    Contrary to the Coronavirus Response Act, the IFR not only permits, but, per the

agency’s pronouncements on how it intended to apply the IFR, it requires states to transition

Medicaid enrollees to different eligibility groups, even when this would result in a reduction in the

amount, duration, or scope of services. 42 C.F.R. § 433.400(c)(2); 85 Fed. Reg. 71,161.

       104.    While the IFR does retain some limitations on states’ ability to move individuals

between eligibility groups, id. §§ 433.400(c)(2)(i)(A)-(B) (regarding individuals with minimum

essential coverage under the Affordable Care Act); 42 C.F.R. § 433.400(c)(2)(ii) (regarding

Medicaid coverage for COVID-19 testing and treatment), the limitations are narrow.

       105.    The IFR, as confirmed by CMS, requires states to move individuals from full-scope

Medicaid to “coverage under a Medicare Savings Program [MSP] eligibility group,” 42 C.F.R.

§ 433.400(c)(2)(i)(B).

       106.    In doing so, the IFR conflates coverage standards in non-Medicaid regulations

applicable only to market-based insurance in the Affordable Care Act with Medicaid, to justify

eliminating full benefit Medicaid coverage and QMB coverage within MSPs, asserting that

Medicare provides “essential coverage.” However, MSP-eligibility provides payment only for

Medicare costs and neither Medicare nor MSP provide the same full-scope Medicaid benefits

previously received, such as vision and hearing exams, non-emergency medical transportation,

hearing aids, dental services, home and community-based services, personal care services, and

long-term nursing facility services. And, within the MSPs, SLMB and ALMB do not provide the

coverage for required cost-sharing for Medicare services provided under QMB.

       107.    The IFR also requires states to terminate Medicaid coverage for certain immigrants.

For “lawfully residing” children or pregnant women, who no longer meet the definition of

“lawfully residing,” “child,” or “pregnant women,” states “must limit coverage for such



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beneficiaries . . . to services necessary for treatment of an emergency medical condition.” 42 C.F.R.

§ 433.400(d)(2) (emphasis added).

       108.    The IFR added one further exemption from the statutory duty to maintain

continuous coverage for individuals on Medicaid in March of 2020: an individual can be denied

coverage if that individual is deemed not to have been “validly enrolled” in Medicaid in the first

place. 42 C.F.R. § 433.400(b) and (c)(2). The statute, however, reflecting Congress’ determination

that keeping individuals of limited means on Medicaid benefits during the public health

emergency, regardless of why they were on in the first place or changes that might otherwise affect

their eligibility, draws no distinction between enrolled individuals; its protection applies to anyone

“who is enrolled for benefits under such plan” mistakenly or otherwise (unless one of the two

statutory exceptions applies).

       F.      State Responses to Guidance

       109.    Some states quickly implemented the terminations authorized or mandated under

the IFR. For example, the Pennsylvania Medicaid agency responded to the IFR by issuing new

written guidance on December 7, 2020 instructing that individuals who fall under the new

exceptions should be terminated from their full benefit Medicaid coverage, including individuals

who qualify for Medicare and a Medicare Savings Program. The guidance has been updated

several times since then, most recently on July 26, 2022. See Pennsylvania Dep’t of Human Servs.,

Operations       Memo.           #20-12-02       (Jul.      26,       2022),       available       at

http://services.dpw.state.pa.us/oimpolicymanuals/ltc/OPS_20_12_03.pdf

       110.    Other states were initially reluctant to comply with the extra-statutory exceptions

under the IFR, but CMS informed states through the All State calls and in specific written

responses to states' inquiries that "it is not optional for states" to conduct the terminations.

Transcript of December 1, 2020 All State Call, at pages 29-30 & Transcript of March 9, 2021 All
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State Call, at page 13 (available at https://www.medicaid.gov/resources-for-states/coronavirus-

disease-2019-covid-19/cmcs-medicaid-and-chip-all-state-calls/cmcs-medicaid-and-chip-all-state-

calls-2021/index.html; Email correspondence between CMS and Connecticut Medicaid official

Kristin Dowty (March 11 and 27, 2021).

       111.     Upon information and belief, this led to the termination of Medicaid benefits for

hundreds of thousands of Americans and legal permanent residents throughout the country and in

every state, which in many cases resulted in the termination of ongoing services essential to health,

to avoiding institutionalization, or even to maintaining life itself.

       112.     In Connecticut, at least 6,600 people were initially terminated from full-benefit

Medicaid under the IFR solely because they qualified for an MSP program. Hundreds more have

since lost protected benefits under the IFR because they now qualify for the lesser coverage of

Medicare and related MSP programs. This total does not include those terminated for some other

basis contained in the IFR, such as because they have secured legal status in this country for less

than five years and are no longer pregnant or under 18, or because they are deemed not to have

been validly enrolled for some reason.

       113.     In Delaware, the Medicaid agency also changed its position on March 1, 2021, from

compliance with the Coronavirus Response Act to implementation of the new exceptions in the

IFR. See Delaware Health and Social Services, Administrative Notice DMMA- A-06-2021, Mar.

1, 2021, available at https://dhss.delaware.gov/dhss/dmma/files/an_202106.pdf

       G.       Effects of the IFR on Named Plaintiffs

Plaintiff Deborah Carr

       114.     Plaintiff Deborah Carr is a 63-year-old White woman who lives in her own home

in New Haven, Connecticut. She has been on full-benefit Medicaid her entire life due to long-

term, chronic conditions. Ms. Carr needs daily assistance in her home due to her progressive

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neurological condition, Friedreich's Ataxia. She needs help with dressing and bathing, in using the

toilet, transferring from her wheelchair or out of bed, and with eating food. She has for years been

receiving many hours per week of home health services, paid for under the Medicaid program

(HUSKY D) to help her with all of her activities of daily living and allow her to continue to live

outside of an institutional setting.

        115.    Ms. Carr has income of $1300 per month and she cannot afford to pay on her own

for needed home care services, the cost of which is several thousand dollars per month.

        116.    Following issuance of the IFR and Defendant's declaration to all states that its

newly-created exceptions to maintenance of effort under the Coronavirus Response Act were

mandatory, Connecticut's Medicaid agency terminated Ms. Carr's full benefit Medicaid coverage

under HUSKY D, based on Defendant's mandate.

        117.    Ms. Carr timely challenged the termination of her Medicaid coverage through the

administrative appeal process. During that appeal, her personal care benefits of about 70 hours per

week continue pending the decision by the hearing officer, which could be issued at any time. If

she is unsuccessful, she will be subject to repayment to the state of the cost of care provided by

the Medicaid program. Once such a decision is issued, her continued benefits will cease.

Plaintiff Brenda Moore

        118.    Plaintiff Brenda Moore is a 57-year-old Black woman who lives in her own home

with her adult son and three-year-old grandchild in New Haven, Connecticut. Ms. Moore's son

works full-time out of the house and is unavailable to provide the daily care she requires. Ms.

Moore has a severe vascular condition which has led to blood clots and required multiple surgeries,

which have been only partially successful. Due to her severe circulation issues, she requires daily

assistance with bathing, dressing, transferring and toileting, and also with meal preparation. She



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also has a significant risk of falling and has fallen several times. She is able to ambulate, but only

with a walker or cane. Ms. Moore also has severe depression and Post-Traumatic Stress Disorder.

       119.    Ms. Moore's entire income is $1402 in monthly Social Security Disability Insurance

benefits, so she is unable to pay for the needed assistance herself.

       120.    Ms. Moore had been receiving Medicaid-funded daily assistance from personal

care attendants starting in July of 2020, due to her developing vascular condition which was

causing falls and other symptoms. The personal care services paid for under the Medicaid program,

currently totaling 39 hours per week, allow her to live outside of an institutional setting.

       121.    Following issuance of the IFR and Defendant's declaration to all states that its

newly-created exceptions to maintenance of effort under the Coronavirus Response Act were

mandatory, Connecticut's Medicaid agency terminated Ms. Moore's full benefit Medicaid coverage

under HUSKY D, based on Defendant's mandate.

       122.    Ms. Moore has accrued extensive debt for services rendered during a period when

her home health aide worked but was not paid, because of the termination of full-scope Medicaid

coverage (under HUSKY D), as required by Defendant under the IFR. She was able to meet the

Medicaid "spend down" for an alternative full-benefit Medicaid program, based on the application

of this debt, which allowed her to continue coverage for a limited one-time six-month period

ending on August 31, 2022. She will not be able to accrue such a large debt to so qualify a second

time, meaning payment for her personal care attendant will abruptly end on that day.

Plaintiff Mary Ellen Wilson

       123.    Mary Ellen Wilson is a 62-year-old White woman who lives at home in Stamford,

Connecticut. She had seizures as a child, surgery related to this, and has Multiple Sclerosis and

dental complications related to decades of anti-seizure medication usage. Her income is $1391

per month.
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       124.    Ms. Wilson was terminated from full benefit Medicaid coverage under the HUSKY

D program, also, on the basis she is on Medicare and an MSP. As a result, she has lost many

benefits covered only by the Medicaid program. For example, her dental work is not covered by

Medicare, other than cleanings covered by her Medicare Advantage plan; dental coverage under

Medicaid is far more comprehensive. She has paid for cabs to get to medical appointments, even

though Medicaid pays for this.

       125.    Multiple Sclerosis is generally a degenerative neurological disease, and so

Ms. Wilson's course is uncertain and she could need additional services not covered under

Medicare at any time (e.g., home care services, durable medical equipment not covered under

Medicare, and etc.).

       126.    Following issuance of the IFR and Defendant's clarification to all states that its

newly-created exceptions to maintenance of effort under the Coronavirus Response Act were

mandatory, Connecticut's Medicaid agency terminated Ms. Wilson's full benefit Medicaid

coverage under HUSKY D, based on Defendant's mandate.

Plaintiff Mary Shaw

       127.    Mary Shaw is a 65-year-old White woman who is a resident of Norfolk, Nebraska

with an income of approximately $1252 per month in Social Security benefits.

       128.    She was able to begin using Medicaid in October of 2020, having applied for

coverage under the new Medicaid expansion program in Nebraska in August of that year. This

new coverage allowed her to see a dentist and to have physical therapy, which finally allowed her

to walk again after surgery to replace a hip.

       129.    Ms. Shaw was diagnosed with cancer about four years ago. This required removal

of part of her nose, where the cancer, squamous cell carcinoma, was found. She has since had



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another diagnosis of cancer, in December 2021, also squamous cell carcinoma, but this time on

her right shoulder.

         130.   In December of 2021, she received a notice from the Nebraska Medicaid agency

dated December 13, 2021 stating that her Medicaid would be terminated on January 1, 2022 and

she now qualifies for Medicare and payment of her Part B premiums on January 1, 2022, since she

turned 65 in January 2022.

         131.   She sought and obtained treatment for the cancer on her shoulder on an urgent basis

before Medicaid was actually terminated, but she still incurred some costs for a biopsy after the

termination went into effect.

         132.   Since losing her Medicaid coverage, she has been subject to significant costs for

her ongoing medical appointments and has foregone appointments for her emphysema condition

and for a post-surgical checkup because of mounting co-insurance (percentage of total charge)

bills.

         133.   At this time, she believes she may have a new cancer on her leg and it seems to be

quick-growing. She needs to make an appointment to get this treated, but is concerned about being

able to afford treatment because she already has a balance due at her doctor’s office, and is unsure

what additional costs she would incur to treat this new issue.

         134.   Ms. Shaw also has lost her dental coverage.

         135.   Between all of the services that are covered under Medicaid but not covered at all

under Medicare and the doctor visits which are covered by Medicare but now require coinsurance

that she cannot afford, the loss of Medicaid has been devastating to her.

Plaintiff Carol Katz

         136.   Carol Katz is a 73-year-old white woman who is a resident of Milford, Delaware.

Her income is only $1154 per month in Social Security retirement benefits.
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       137.    She has severe rheumatoid arthritis (“RA”), a progressive contractual disease, as

well as .COPD, lung nodules, high blood pressure, fibromyalgia, a carotid artery occlusion which

resulted in a stroke in 2013, cerebrovascular disease, dilation of the aorta, muscle weakness and

anxiety disorder.

       138.    Ms. Katz has been on the Delaware QMB program since about 2014, when she got

on it to cover the high cost-sharing required for Medicare payment for the installation of the carotid

artery stent needed to address her carotid artery occlusion which had resulted in the stroke.     She

qualified for the QMB program because her countable income was under 100% of the federal

poverty level. See 16 Del. Admin Code, 17300 et seq,

       139.    For eight years, the QMB program covered all of her deductibles, co-pays and co-

insurance for doctor visits, hospital and Emergency Room visits, of which she had many.

       140.    The cost-sharing coverage under the QMB program included payment under

Medicare Part B for all of the costs for the infusion treatments needed every four weeks to treat

RA, for the last approximately four years. These infusion treatments were necessary to allow her

to walk and to use her hands, by addressing the pain and debilitation in her joints and connective

tissue caused by RA.

       141.    About four months ago, her doctor changed her infusion schedule to every eight

weeks, when the drug used to treat her RA was switched from Orencia to Simponi Aria.

According to the office of her rheumatologist, the cost-sharing under Medicare for these treatments

is $478 per treatment, which she cannot afford.

       142.    In March of 2022, she received a notice dated March 18. 2022 from the State of

Delaware Division of Social Services stating that beginning April 1. 2022 she would be switched

from the QMB program to SLMB, under which only her Part B premiums would be paid for and



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she would “not be eligible for any other health care services.” The notice said that “Your Family’s

income after allowable deductions is $1134.00. The allowable income limit for a Family of 1 is

$1133.00. You are over this limit.”

        143.    After an unsuccessful appeal, she received another notice from the State of

Delaware Division of Social Services dated July 14, 2022 stating that she was being switched from

the QMB program to the SLMB program on August 1st.

        144.    She no longer has any coverage for any of the cost-sharing under Medicare for all

of her doctor or outpatient visits, of which she has about three per month. This includes the 20%

of the doctors’ charges for office visits.

        145.    The only reason she can continue going to her infusions every eight weeks, for

which the cost-sharing is $478 per time, is that her granddaughter managed to persuade the

manufacturer of the Simponi Aria infusion, to cover all of this through its Patient Assistance

Foundation.

        146.    Because of her COPD condition, for the last three years, she has had to go for a

CAT scan of her chest as a lung cancer screening. In a CAT scan of the chest on April 11, 2022,

seven nodules were found. Her pulmonologist wants her to do further tests to check for cancer in

some of the nodules seen in the April CAT scan. She cannot afford the cost-sharing involved.

        147.    With all of the cost-sharing responsibilities for her doctor visits which are not

covered by Medicare and which are no longer covered by the QMB program since she was cut off

it as of August 1st, she is very worried about not being able to see her doctors, including to check

for possible cancer.

Irreparable Harm

        148.    Absent relief from the Court enjoining the application of the IFR, the termination

of full-benefit Medicaid coverage or QMB coverage to each of the Named Plaintiffs will continue
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for the duration of the PHE, for however many months or years it lasts, putting them at risk during

the pandemic of institutionalization, lack of treatment for life-threatening cancer and other

irreparable harm because of the lack of access to necessary health services that were covered for

them under the Medicaid program.

        149.    Plaintiffs have no adequate remedy at law.

        COUNT ONE: PROCEDURAL VIOLATION OF THE ADMINISTRATIVE
                           PROCEDURE ACT

        150.    Plaintiffs repeat and incorporate herein by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

        151.    The APA provides that a reviewing court may “hold unlawful and set aside” agency

actions found to be “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

        152.    Absent a showing of good cause, the APA requires an agency to follow notice and

comment procedures which provide “interested persons an opportunity to participate in the rule

making through submission of written data, views, or arguments with or without opportunity for

oral presentation.” 5 U.S.C. § 553(b), (c). The APA further requires that a rule be published 30

days prior to its effective date. Id. § 553(d).

        153.    The IFR is final agency action and a legislative rule within the meaning of the APA.

        154.    The Defendant did not engage in notice and comment rulemaking before issuing

the IFR, did not observe the 30-day period between publication and effective date, and had no

authority or good cause to disregard the APA’s rulemaking requirements.

        155.    Defendant’s implementation of the IFR without first receiving and considering any

of the comments to the rule was arbitrary and capricious.




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          COUNT TWO: SUBSTANTIVE VIOLATION OF THE ADMINISTRATIVE
                             PROCEDURE ACT

          156.   Plaintiffs repeat and incorporate herein by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

          157.   The APA provides that a reviewing court may “hold unlawful and set aside” agency

actions that are “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law”; “in excess of statutory jurisdiction, authority, or limitations, or short of statutory right”; or

“without observance of procedure required by law.” 5 U.S.C. § 706(2)(A)-(D).

          158.   The IFR contradicts Section 6008(b)(3) of the Coronavirus Response Act, and is

contrary to law, because the statutory authority is unambiguous and does not allow for the

additional exceptions to the maintenance of effort requirements appearing in the IFR. Even

assuming any ambiguity, the agency’s interpretation is unreasonable, arbitrary and capricious as

an unexplained departure from a prior consistently-applied policy.

          159.   Plaintiffs are in danger of suffering irreparable harm and have no adequate remedy

at law.

                                    REQUEST FOR RELIEF

          WHEREFORE, Plaintiffs respectfully ask that this Court:

          A.     Certify a nationwide class of individuals whose Medicaid coverage has been or will

be terminated or reduced due to the implementation of the portion of the IFR promulgating 42

C.F.R. § 433.400, as defined in Paragraph 29 above.

          B.     Grant a class-wide injunction requiring Defendant to immediately inform all states

and the District of Columbia that 42 C.F.R. § 433.400 is not being enforced by him, that they

should not enforce it either against anyone on any kind of Medicaid program in their respective




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jurisdictions, and that anyone who previously lost Medicaid benefits under this regulation should

have their terminated or reduced benefits immediately restored.

       C.      Declare that Defendant's issuance of 42 C.F.R. § 433.400 through the IFR violates

the APA and the Families First Coronavirus Response Act in the respects set forth above;

       D.      Find that Defendant's implementation of the enhanced FMAP authorized by Section

6008 of the Families First Coronavirus Response Act while permitting and requiring states to

eliminate benefits or reduce the amount, duration, and scope of services available to individuals

enrolled in Medicaid on or after March 18, 2020, even where neither of the two statutory

exceptions applies, was unlawful, arbitrary and capricious and should be set aside;

       E.      Award Plaintiffs their reasonable attorneys' fees and costs pursuant to 28 U.S.C. §

2412; and

       F.      Grant such other and further relief as may be just and proper.

                DATED: August 26, 2022.

                                                     Respectfully submitted,

                                                     /s/ Sheldon V. Toubman
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                                      Certificate of Service

        I hereby certify that on August 26, 2022, a copy of the foregoing document was filed
electronically and served by overnight delivery to anyone unable to accept electronic filing.
Notice of this filing will be sent by email to all parties by operation of the Court’s electronic
filing system or by overnight delivery to anyone unable to accept electronic filing as indicated on
the Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF
System.



                                             s/Sheldon V. Toubman_________
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